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    9 the Body Shop Perris, LLC

   10
                           UNITED STATES DISTRICT COURT
   11
                     CENTRAL DISTRICT COURT OF CALIFORNIA
   12

   13
      ROBERT WARREN JACKSON,                    Case No. 2:20-CV-09399-RGK-AGRx
   14 individually and derivatively;
                                                Los Angeles Superior Court Case No.
      GREGORY BAUER, individually and           20STCV32709
   15
      derivatively,
   16                                           [Assigned to the Hon. R. Gary
                                                Klausner, Courtroom 850]
                                  Plaintiffs,
   17
                                                DEFENDANTS RANDOLPH
   18        vs.                                BEN CLYMER AND BEN
                                                CLYMER’S THE BODY SHOP
   19
      BEN CLYMER’S THE BODY SHOP                PERRIS, LLC’S NOTICE OF
   20 PERRIS, LLC, a California limited         MOTION AND MOTION TO
      liability company; RANDOLPH BEN           DISMISS FIRST AMENDED
   21
      CLYMER, an individual; and                COMPLAINT UNDER
   22 AFFILIATED DEFENDANTS                     FEDERAL RULES OF CIVIL
                           .                    PROCEDURE 12(B)(6), 9, AND
   23
                                                23.1
   24
                                                Hearing Date
   25                                           Date: December 28, 2020
                                                Time: 9:00 a.m.
   26                                           Judge: Hon R. Gary Klausner
                                                Place: Courtroom 850
   27
                                                       255 E. Temple St.
   28                                                   Los Angeles, CA 90012


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    1         TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF
    2 RECORD:

    3         NOTICE IS HEREBY GIVEN THAT on December 28, 2020, at 9:00 a.m.,
    4 before the Honorable R. Gary Klausner in Courtroom 850 of the United States

    5 Courthouse for the Central District of California, Western Division, 255 E. Temple

    6 Street, Los Angeles, California, Defendants Randolph Ben Clymer (“Clymer”) and

    7 Ben Clymer’s the Body Shop Perris, LLC (“Perris, LLC”) (“Clymer” and “Perris,

    8 LLC” together, the “Clymer Defendants”) will and hereby do move the Court to

    9 dismiss the First Amended Complaint (“FAC”) for: (1) Breach of Fiduciary Duty;

   10 (2) Aiding and Abetting Breach of Fiduciary Duty; (3) Concealment and

   11 Suppression of Material Fact; and (4) Negligence (Docket No. 23) pursuant to

   12 Federal Rules of Civil Procedure Rule (“FRCP”) Rules 12(b)(6), 9(b) and 23.1, for

   13 failure to state claims against the Clymer Defendants upon which relief can be

   14 granted, for lack of standing, for failure to properly plead futility, and for failure to

   15 plead the claims with the requisite specificity.

   16         Pursuant to Local rule 7-3, Mr. Farivar, counsel for the Clymer Defendants,
   17 sought to schedule a meet and confer with Wolfgang Hahn (“Mr. Hahn”), counsel

   18 for Plaintiffs Robert Warren Jackson (“Jackson”) and Gregory Bauer (“Bauer”)

   19 (collectively, the “Plaintiffs”), and sent an email regarding the same on or about

   20 October 22, 2020. Mr. Farivar and Mr. Hahn met and conferred telephonically on or

   21 about October 30, 2020, wherein the counselors agreed that the Clymer Defendants’

   22 response would be due on November 25, 2020. The two also discussed grounds for a

   23 Motion to Dismiss or whether Plaintiffs would dismiss the Clymer Defendants from

   24 the case. After receiving no follow-up from Mr. Hahn, Mr. Farivar emailed Mr.

   25 Hahn on or about November 25, 2020 regarding the Motion to Dismiss and received

   26 no meaningful response. Accordingly, the Clymer Defendants are filing this Motion

   27 to Dismiss the First Amended Complaint (“FAC”) after a good faith meet and

   28 confer.


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    1        As set forth below, there is good cause for the relief requested as the
    2 Plaintiffs: (1) failed to properly plead futility; (2) failed to plead the breach of

    3 fiduciary duty and fraud claims with sufficient particularity; and (3) failed to state a

    4 claim for relief against the Clymer Defendants.

    5         This Motion is based on this Notice of Motion, the accompanying
    6 Memorandum of Points and Authorities; the pleadings and papers filed in this

    7 action; and such further argument and matters as may be offered at the time of the

    8 hearing on this Motion.

    9          PLEASE TAKE NOTICE that pursuant to Local Rule (“L.R.”) 7-9, each
   10 opposing party shall, not later than ten (10) days after service of the motion in the

   11 instance of a new trial motion and not later than twenty-one (21) days before the

   12 date designated for the hearing of the motion in all other instances, serve upon all

   13 other parties and file with the Clerk either (a) the evidence upon which the opposing

   14 party will rely in opposition to the motion and a brief but complete memorandum

   15 which shall contain a statement of all the reasons in opposition thereto and the

   16 points and authorities upon which the opposing party will rely, or (b) a written

   17 statement that that party will not oppose the motion. Evidence presented in all

   18 opposing papers shall comply with the requirements of L.R. 7-6, 7-7 and 7-8.

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    1        PLEASE TAKE FURTHER NOTICE that the failure to file a timely
    2 response or opposition to the Motion may be deemed consent to the granting of the

    3 relief therein requested and the Court may, without further notice or opportunity to

    4 be heard, grant the Motion and waive appearances at the proposed hearing on the

    5 Motion.

    6

    7
        Dated: November 25, 2020                       FARIVAR LAW FIRM, APC
    8

    9

   10                                                By:
   11                                                      Fahim Farivar, Esq.
                                                           Counsel for Defendants Randolph
   12                                                      Ben Clymer and Ben Clymer’s the
   13                                                      Body Shop Perris, LLC.

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    1                MEMORANDUM OF POINTS AND AUTHORITIES
    2    I.   INTRODUCTION
    3         Plaintiffs’ FAC is fatally lacking in specifics with regard to most, if not all of
    4 the alleged Defendants, and especially with regards to the Clymer Defendants.

    5 Plaintiffs’ claims revolve primarily around the individual doings of Defendants Mo

    6 Jacobs (“Jacobs”), Darren Dunckel (“Dunckel”), Mansour Khatib (“Khatib”), and

    7 Michael Murray (“Murray”) (Jacobs, Dunckel, Khatib and Murray together, the

    8 “Insider Defendants”) and their interactions with the Plaintiffs. Interestingly, many

    9 of the events giving rise to the allegations in the Complaint occurred while Bauer

   10 acted as CEO of nominal defendant GBT Technologies, Inc. fka Gopher Protocol,

   11 Inc. (“GBT”). See the FAC, ¶ 63.

   12         More specifically, despite the lengthy FAC, Plaintiffs fail to allege that the
   13 Clymer Defendants, in particular, (1) owed a fiduciary duty to Plaintiffs or to GBT,

   14 (2) knew or should have known about any of the other Defendants’ alleged fiduciary

   15 duty to Plaintiffs or to GBT, (3) actively concealed—or even communicated with—

   16 Plaintiffs, and (4) that the Clymer Defendants otherwise possessed a duty to

   17 Plaintiffs that they later breached. As explained below, Plaintiffs entirely fail to

   18 allege the Clymer Defendants’ involvement in any purported scheme between the

   19 Insider Defendants and Plaintiffs.

   20         Plaintiffs sprinkle “alter ego” and “reverse alter ego” allegations throughout
   21 the FAC, yet fail to lay the basis to justify alter ego treatment—especially with

   22 regards to the Clymer Defendants, who were not personally involved in any of the

   23 questionable transactions in the FAC. Accordingly, the FAC must be dismissed in its

   24 entirety as to the Clymer Defendants.

   25   II.   STATEMENT OF PERTINENT FACTS
   26         The gist of the FAC is that Plaintiffs and the Insider Defendants met between
   27 late 2016 and early 2017 to discuss GBT’s potential purchase of Preway

   28 Communications (“Preway”), a business of telephone-related items, gift cards, and


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    1 prepaid programs through a network of approved neighborhood-based retail payment

    2 centers providing electronic pre-paid telecommunication and other financial

    3 services-type products to paying customers. See the FAC, ¶¶ 48, 51. Plaintiffs

    4 thereafter allege that the Insider Defendants used the acquisition of the cash-flow

    5 intensive Preway business to misrepresent the profitability of GBT, fabricate

    6 transactions, and artificially inflate its value. See the FAC, p. 6:12-22.

    7        As relates to the Clymer Defendants, Plaintiffs allege only two connections:
    8 (1) Clymer became the manager of Guardian Patch, LLC (“Guardian”) on or about

    9 August 11, 2017, which had previously acquired shares of GBT in connection with

   10 the acquisition of Preway and later suspiciously sold these shares (See FAC, ¶ 14)

   11 and (2) Clymer and/or Perris, LLC received over 2,000,000 shares of GBT stock,

   12 although Plaintiffs admit “it is unclear how [Perris, LLC] acquired these shares.” See

   13 the FAC, ¶ 90. As explained below, Plaintiffs’ timeline exonerates the Clymer

   14 Defendants from any liability to any purported scheme between the Insider

   15 Defendants and Plaintiffs.

   16            a. Clymer’s Involvement with Guardian.
   17        Guardian was allegedly formed in March 2016 by Jacob to develop certain
   18 “patch” technology (“Patch”). See the FAC, ¶¶ 73, 16. On or about March 29, 2016,

   19 Guardian and GBT formed a joint venture (the “Joint Venture”) to develop Patch.

   20 On or about May 23, 2017, Guardian and GBT executed a convertible note

   21 indicating Guardian’s indebtedness to GBT in connection with formation of the Joint

   22 Venture. See the FAC, ¶ 74. On or about August 1, 2017, GBT and Guardian entered

   23 into a consulting agreement to structure the Preway acquisition, wherein GBT

   24 agreed to issue 2,000,000 shares of common stock to Guardian and warrants to

   25 acquire 9,000,000 more shares, in addition to conditional payment depending on the

   26 performance of Preway. See the FAC, ¶ 75. Plaintiffs do not allege that this is a

   27 sham agreement—Guardian provided over $500,000.00 to finance GBT’s

   28 acquisition of Preway. See the FAC, ¶ 76. Plaintiffs allege that Clymer became the


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     1 manager of Guardian on or about August 11, 2017, well after these events occurred.

     2 See the FAC, ¶ 14. On or about December 29, 2017, well after Bauer became CEO

     3 of GBT on or about September 1, 2017, GBT agreed to amend its agreement with

     4 Guardian to enable Guardian to convert its note into shares. See the FAC, ¶¶ 79, 63.

     5 GBT thereafter issued more shares to Guardian for various purposes, including to

     6 buy out Guardian’s interest in the Joint Venture, totaling approximately 19,500,000

     7 shares from GBT to Guardian. See the FAC, ¶¶ 82, 83.

     8            b. Perris, LLC and/or Clymer Were Issued 2,000,000 Shares at Some
     9                 Point.
    10         Aside from Clymer’s involvement with Guardian, Plaintiffs’ only allegations
    11 regarding the Clymer Defendants is that as of August 4, 2017, Perris, LLC owned

    12 2,000,000 shares of GBT common stock. See FAC, ¶ 90. Plaintiffs admit they do not

    13 know where Perris, LLC acquired these shares. Id. Plaintiffs further without more

    14 allege that Perris, LLC’s holdings of GBT stock stood at 600,000 shares as of March

    15 20, 2018. Id.

    16 III.    LEGAL STANDARD
    17         In order to avoid dismissal under FRCP 12(b)(6), a complaint must “contain
    18 sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible

    19 on its face.” Ashcroft v. Iqbal, 129 S.Ct. 1937, 1949 (2009) (quoting Bell Atl. Corp.

    20 v. Twombly, 550 U.S. 544, 570 (2007)). In making the plausibility analysis, a

    21 district court should first identify and eliminate the conclusory “allegations that are

    22 not entitled to the assumption of truth.” Id. at 1950-51. Second, the district court

    23 should evaluate the remaining non-conclusory allegations to determine if they are

    24 plausible. Id. at 1951.

    25         Since Plaintiffs’ claims in this action sound in fraud, they must also satisfy the
    26 heightened pleading requirements of FRCP Rule 9(b), which requires a plaintiff to

    27 identify not only the “who, what, when, where, and how” of the alleged

    28 misstatements, but also “what is false or misleading about a statement, and why it is


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     1 false.” Vess v. Ciba-Geigy Corp. USA, 317 F.3D 1097, 1106 (9th Cir. 2003) (internal

     2 quotation marks and citations omitted, applying Rule 9(b) to state-law claims

     3 sounding in fraud). A fraud suit against differently situated defendants must

     4 identify the role of each defendant in the alleged fraudulent scheme. U.S. ex rel.

     5 Anita Silingo v. WellPoint, Inc., 904 F.3d 667, 677 (9th Cir. 2018).

     6 IV.    ARGUMENT
     7            a. Plaintiffs Do Not Have Standing as to a Shareholder Derivative Suit
     8               and Fail to Properly Plead Futility.
     9        Under FRCP Rule 23.1 (“Rule 23.1”), a shareholder must either demand
    10 action from the corporation's directors before filing a shareholder derivative suit, or

    11 plead with particularity the reasons why such demand would have been futile. A

    12 court looks to the law of the state of incorporation to determine when demand would

    13 be futile. Rosenbloom v. Pyott, 765 F.3d 1137, 1148 (9th Cir.2014). See, Arduini v.

    14 Hart, 774 F.3d 622, 638 (9th Cir 2014).

    15        Because GBT is incorporated in Nevada, Nevada law defines
    16 demand futility in this case. Nevada courts look to Delaware law for guidance on

    17 demand futility. Shoen v. SAC Holding Corp., 122 Nev. 621, 137 P.3d 1171, 1179–

    18 84 (2006). Derivative suits allow a shareholder “to ‘compel the corporation to sue’

    19 and to thereby pursue litigation on the corporation's behalf against

    20 the corporation's board of directors and officers.” Id. at 1179. However, “because the

    21 power to manage the corporation’s affairs resides in the board of directors, a

    22 shareholder must, before filing suit, make a demand on the board ... to obtain the

    23 action that the shareholder desires.” Id.; Rosenbloom, 765 F.3d at 1147–48

    24 (discussing demand futility under Delaware law). See also, Arduini, supra at 638.

    25               i. Plaintiffs Have No Standing Because They Fail to Adequately
    26                  Allege Continuous Stock Ownership.
    27        The FAC in its entirety should be dismissed because Plaintiffs have failed to
    28 comply with Rule 23.1(b)(1) which requires derivative plaintiffs to properly allege


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     1 that each was a “shareholder or member at the time of the transaction complained of,

     2 or that the plaintiff’s share or membership later devolved on it by operation of law.”

     3 Rule 23.1(b)(1). See also Nev. Rev. Stat. (“NRS”) §41.520(2) and Nev. R. Civ. P.

     4 (“NRCP”) 23.1.

     5        The Ninth Circuit has interpreted Rule 23.1 to require that the derivative
     6 plaintiff “be a shareholder at the time of the alleged wrongful acts” and “retain

     7 ownership of the stock for the duration of the lawsuit.” A derivative plaintiff has no

     8 standing to sue for misconduct that occurred prior to the time he became a

     9 shareholder of the corporation. Thus, the complaint must indicate when plaintiffs

    10 bought stock in [the company] and must state that they have owned stock

    11 continuously since the date of the filing of the lawsuit (if they have). In re Sunset

    12 Tech, Inc. Derivative Litig., 278 F. Supp.2d 1079, 1096 (N.D. Cal.) (citations

    13 omitted) (emphasis added). Alleging ownership “at all times relevant” or “during

    14 the relevant period” does not meet the requirements of Rule 23.1(b)(1). See, In re

    15 Verisign, Inc. Derivative Litig., 531 F. Supp. 2d 1173, 1202 (N.D. Cal. 2007)

    16 (holding that plaintiffs failed to adequately allege standing by continuous stock

    17 ownership where complaint alleged only that plaintiffs “have owned [] stock during

    18 the Relevant Period... and continue to own the Company’s common stock” and

    19 stating that “plaintiffs must unambiguously indicate... the dates they purchased []

    20 stock, and whether they have continuously owned [] stock from the time of purchase

    21 up to the present.”).

    22        Plaintiffs do not state when they acquired the GBT stock, nor how they
    23 acquired it. The complaint merely states that JACKSON and BAUER are, were and

    24 remain shareholders of GBT (Gopher) at the time of the wrongdoing complained

    25 of.” (FAC, ¶ 134). Moreover, at paragraphs 1 and 2 of the FAC, Plaintiffs state the

    26 dates when they obtained stock warrant agreements, but they do not state they were

    27 ever exercised and do not state when they acquired stock. Thus, Plaintiffs’

    28 allegations are insufficient to satisfy the continuous ownership requirement of Rule


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     1 23.1 and NRCP 23.1).

     2               ii. Plaintiffs Did Not Meet the Legal Standard for the Demand
     3                  Requirement
     4        In a derivative action, the complaint must... state with particularity any effort
     5 by the plaintiff to obtain the desired action from the directors or comparable

     6 authority and, if necessary, from the shareholders or members; and the reasons for

     7 not obtaining the action or not making the effort.” Rule 23.1 and NRS 41.520(2) and

     8 NRCP 23.1. This special pleading rule for derivative actions, is known as the

     9 demand requirement. See, e.g., Shoen v. SAC Holding Corp., 137 P.3d 1171, 1179-

    10 80 (Nev. 2006) (abrogated on other grounds) (“a shareholder must ‘set forth...

    11 particularized factual statements that are essential to the claim’ that a demand has

    12 been made and refused, or that making a demand would be futile or otherwise

    13 inappropriate”) (quoting Brehm v. Eisner, 746 A.2d 244, 254 (Del. 2000)).

    14        On a motion to dismiss based on the demand requirement, the standard for
    15 testing the sufficiency of the allegations is far more rigorous than ordinary notice

    16 pleading rules. See Rule 23.1 (“the complaint must... state with particularity”

    17 whether demand was made or why demand would be futile). To excuse demand, a

    18 plaintiff must meet a heightened pleading standard of particularity, and plead

    19 particularized facts demonstrating that a majority of the board of directors cannot

    20 impartially consider a demand. See Shoen, supra at 1179-80. [M]ere conclusory

    21 assertions will not suffice under NRCP 23. ‘with particularity’ standard.” (Nevada’s

    22 NRCP 23.1 s almost identical to Rule 23.1, and both require that demand futility be

    23 pled “with particularity”).

    24        Here, Plaintiffs admit they did not make a demand on GBT’s directors asking
    25 them that they consider bringing claims on behalf of the Company prior to filing

    26 suit. See FAC ¶¶ 136-137. They assert, however, that such demand would have been

    27 futile for the following alleged reasons:

    28        “[B]ased upon defendants' acts and omissions in direct violation of their

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     1         fiduciary duties of care, good-faith, honesty and loyalty, a pre-suit demand on
     2
               GBT (Gopher's) Board of Directors to bring the claims asserted in this action
               is excused as a futile and useless act. A sizeable majority of GBT's officers,
     3         directors, executive consultants, affiliates and insiders have personally
     4         profited and benefitted financially from the wrongdoing alleged in this
               Complaint and it was these same individuals who oversaw GBT' s operations
     5         and benefitted from the wrongful acts and conduct complained of herein.”
     6         (Complaint, ¶136).

     7 None of these allegations, however, is sufficient to overcome the presumption of

     8 disinterestedness and independence to which GBT’s directors are entitled under

     9 Nevada law. Plaintiffs must plead specific facts demonstrating that, at least two of

    10 the three directors lack the independence necessary to consider their demand.

    11         Plaintiffs allege there are four directors. However, Plaintiffs’ allegations
    12 Robert Yaspan is a board member simply fails as he resigned from the Board in June

    13 2019.

    14         Of the remaining three directors, Danny Rittman was not alleged to have sold
    15 any stock and Mansour Khatib was never alleged to have ownership of stock. (See,

    16 Chart 6, FAC pages 53-54). Thus, two out of the three directors cannot be accused

    17 of any stock sales.

    18         To determine whether demand is excused, Nevada law requires the courts to
    19 determine whether a majority of the Board faces a sufficiently great threat of liability

    20 from the derivative suit that it cannot impartially evaluate a demand. Guttman v.

    21 Huang, 823 A.2d 492, 500-5-1 (Del. Ch. 2003). Thus, simply alleging that the

    22 directors participated in the alleged wrongdoing and will not sue themselves will not

    23 suffice. See Kohls v. Duthie, 791 A.2d 772, 779 (Del. Ch. 2000) (“[T]he mere fact

    24 that directors would be asked to sue themselves is not a basis for excusing demand.

    25 Nor is it sufficient to allege that the directors had voted to approve the transaction at

    26 issue.”) (footnote omitted).

    27         Rather, a court must evaluate the specific threat of liability to each individual
    28 director by determining whether particularized facts are pleaded to show that the


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     1 director is unlikely to be able to avail himself of the protection of the business

     2 judgment rule for the conduct alleged. The business judgment rule insulates directors

     3 who make unwise decisions from liability if they informed themselves adequately

     4 and acted in good faith with respect to those decisions. See NRS § 78.138; In re

     5 Caremark Int’l Derivative Litig., 698 A.2d 959, 967 (Del. Ch. 1996) .

     6         Under Nevada’s exculpatory clause, “a director or officer is not individually
     7 liable to the corporation ... unless it is proven that ... the breach of [his fiduciary

     8 duties as a director] involved intentional misconduct, fraud or a knowing violation of

     9 law.” NRS § 789.138(7)(b). Thus, to show that a majority of GBT’s Board is

    10 disqualified from considering a demand because they face a substantial likelihood of

    11 liability, plaintiffs “must plead a non-exculpated claim.” In re Lear Corp. S’holder

    12 Litig., 967 A.2d 640, 648.

    13         To show that a director is not disinterested, a derivative plaintiff must plead
    14 articulate facts to demonstrate that the director had a personal financial interest in the

    15 alleged wrongdoing. See Rales v. Blasband, 634 A.2d 927, 936 (Del. 1993). See

    16 also, In re Verisign, Inc., Derivative Litig., 531 F. Supp. 2d 1173, 1189 (N.D. Cal.

    17 2007).

    18         Corporate insiders sell company stock as a matter of course, and there is no
    19 per se rule that makes a director “interest” based solely on generalized allegations

    20 that he or she sold company stock while in possession of material, non-public

    21 information. In re Verisign, Inc., supra at 1190-1191. See also, Guttman, supra at

    22 502.

    23         To show a lack of independence, shareholders must also allege “facts that
    24 show that the majority [of directors] is ‘beholden to’ directors who ... [are] unable to

    25 consider a demand on its merits. The simple fact that there are some financial ties

    26 between the interested party and the director is not disqualifying. Louisiana Mun.

    27 Police Employees’ Ret. Sys. v. Wynn, 829 F.3d 1048, 1058-59 (9th Cir. 2016).

    28         In the instant case, the only allegations are conclusory allegations.

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     1 Conclusory “allegations of facts or law not supported by allegations of specific fact

     2 may not be taken as true.” In re Computer Scis. Derivative Litig., No. CV 06-05288

     3 MRP (EX) 2007 WL 9734602, at *3 (C.D. Cal. Aug. 9, 2007), citing Levine v.

     4 Smith, 591 A.2d 194, 207 (Del. 1991).

     5        Further, there are no allegations that the directors approved the challenged
     6 transactions nor does it even set forth the list of directors. Moreover, there are not

     7 any allegations pled with particularity as to why the Board could not impartially

     8 consider a demand. There are only conclusory statements.

     9            b. Plaintiffs Fail to State Any Claims for Relief Against the Clymer
    10               Defendants.
    11        The Clymer Defendants are neither officers nor directors of GBT. The Clymer
    12 Defendants are merely shareholders and none of the allegations against it set forth

    13 any duty owed by the Clymer Defendants to other shareholders.

    14               i. Plaintiffs Fail to Allege the Clymer Defendants Owe a Fiduciary
    15                  Duty to GBT.
    16        A breach of fiduciary duty claim requires Plaintiffs to show the existence of
    17 a fiduciary duty, the breach of that duty, and that the breach proximately caused the

    18 damages. Brown v. Kinross Gold U.S.A., Inc., 531 F. Supp.2d 1234, 1245 (D. Nev.,

    19 2008).

    20        Plaintiffs’ only claims against the Clymer Defendants is that Perris, LLC
    21 owned 2,000,000 shares of GBT and that Clymer was the manager of Guardian

    22 when certain shares held by Guardian were sold. See FAC, ¶ 97. Plaintiffs have

    23 neither alleged that the Clymer Defendants owed GBT a fiduciary duty, nor that as

    24 shareholders, Guardian or Perris, LLC somehow owed a duty to GBT as mere

    25 shareholders. Lastly, law is settled that shareholders do not owe an entity a duty by

    26 being mere shareholders.

    27        Furthermore, Plaintiffs’ claims for breach of fiduciary duty sound in fraud.
    28 The claim incorporates by reference all of Plaintiffs’ allegations that there was a


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     1 “pump and dump” scheme and market manipulation. See FAC, ¶ 33. It alleges that

     2 all defendants engaged in a deliberate course of conduct and alleges that the

     3 defendants engaged in “fraudulent acts” (without providing any details as to the

     4 “who, when, what and where). Id. FRCP 9(b) requires that such claims be pled with

     5 specificity. Vess, 317 F.3d 1103-04. “[W]hen a breach of fiduciary duty claim is, in

     6 substance, a claim of fraud, the requirements of Rule 9(b) are triggered.” Adelphia

     7 Recovery Trust v. Bank of America, N.A., 624 F. Supp. 2d 292, 319 (S.D.N.Y. 2009).

     8        The FAC fails to allege any specific claims against the Clymer Defendants.
     9 FRCP 9 requires an explanation of the “who, what, when, where, and how” of the

    10 fraud, as well as the reasons why the acts at issue were allegedly false. Vess, 317

    11 F.3d at 1106. Yet, Plaintiffs fail to allege that the Clymer Defendants communicated

    12 in any regard with Plaintiffs or with GBT. Furthermore, Clymer’s involvement with

    13 Guardian began only after Guardian and GBT had entered into binding agreements

    14 regarding the issuance of GBT stock. See the FAC, ¶ 14. Simply put, Plaintiffs have

    15 not alleged a basis for the Clymer Defendants to have committed a fraud on GBT

    16 and accordingly the claim should be dismissed pursuant to FRCP 12(b)(6) and 9(b).

    17               ii. Plaintiffs Fail to Allege the Clymer Defendants Knew of Any Duty
    18                  to Plaintiffs or GBT.
    19        Plaintiffs’ claim of aiding and abetting a breach of fiduciary duty falls short of
    20 the necessary facts to satisfy the claim. As set forth below, aiding and abetting

    21 liability requires a showing of knowing participation in a tort with the intent to assist

    22 and provide substantial assistance. All of which is absent from the instant case.

    23        Federal courts follow the California common law rule for subjecting a
    24 defendant to liability for aiding and abetting a tort. (Ortiz v. Georgia Pacific, 973 F.

    25 Supp. 2d 1162, 1184 (E.D. Cal. 2013). Under California law, there are four

    26 crucial elements plaintiffs must sufficiently plead to show the Clymer Defendants’

    27 alleged aiding and abetting in the wrongful acts; conclusory allegations will not

    28 suffice. Plaintiffs must allege facts that show: (1) the Clymer Defendants’ Actual


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     1 Knowledge of Primary Tortfeasor's Wrongful Act; (2) the Clymer Defendants

     2 Provided Substantial Assistance to Primary Tortfeasor in Commission of Wrongful

     3 Act; (3) the Clymer Defendants’ Conscious Decision to Participate in Primary

     4 Tortfeasor's Wrongful Act; and (4) the Clymer Defendants’ Intent to Assist Primary

     5 Tortfeasor in Wrongful Act.

     6        Here, Plaintiffs have not and cannot plead factual allegations against the
     7 Clymer Defendants to meet any of these necessary elements. Firstly, with regard to

     8 Perris, LLC, Plaintiffs have made no allegations except that it owned some shares of

     9 GBT stock.

    10                  1. Actual Knowledge and Substantial Assistance
    11        Liability may be imposed on one who aids and abets the commission of a tort
    12 only if the person: knows the other's conduct constitutes a breach of duty and the

    13 person gives substantial assistance or encouragement to the other to so act. (Casey

    14 v. U.S. Bank National Ass'n, 127 Cal. App. 4th 1138, 1144 (2005).)

    15        The level of knowledge Plaintiffs are required to show is that the Clymer
    16 Defendants had actual knowledge of the underlying tort committed by the primary

    17 tortfeasor--a high level of scienter. (Resolution Trust Corp. v. Rowe, 1993 U.S. Dist.

    18 LEXIS 1497, No. C 90-20114 BAG, 1993 WL 183512, *5 (N.D. Cal. Feb. 8, 1993)

    19 [“Under California law, actual knowledge and intent are required to impose aiding

    20 and abetting liability”].)

    21        To survive a motion to dismiss, therefore, plaintiffs must allege facts showing
    22 Clymer’s actual knowledge of the underlying harm. (Kirschner v. Bennett, 648 F.

    23 Supp. 2d 525, 544-45 (S.D.N.Y. 2009) [granting motion to dismiss aiding and

    24 abetting claim against law firm for failure to plead sufficiently that defendants had

    25 actual knowledge of, or substantially assisted in, the conduct giving rise to the

    26 underlying action]; In re Sharp Intern. Corp., 281 B.R. 506, 513

    27 (Bankr.E.D.N.Y.2002) [The complaint must identify precisely the “primary wrong”

    28 sued on and must allege that the aider and abettor had “actual knowledge” of the


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     1 wrongful conduct].)

     2        For example, in Casey, a bankruptcy trustee sued several banks for aiding and
     3 abetting a fraudulent scheme to loot the debtor corporation. (Casey, supra, 127

     4 Cal.App.4th at p. 1141.) In reversing, the court found that the trustee's allegations

     5 fell “far short” of the requirements for pleading a cause of action for aiding and

     6 abetting breach of fiduciary duty. (Id. at p. 1148.) Although the complaint provided

     7 “ample details of the banks' improper conduct in their business dealings with [the

     8 perpetrator of the fraud], the complaint fail[ed] to establish that the banks had actual

     9 knowledge of the primary violation in which they purportedly participated.” (Ibid.,

    10 italics omitted.) It was insufficient for the trustee to allege that “the banks knew

    11 something fishy was going on....” (Id. at p. 1149, italics omitted.)

    12        The test for actual knowledge cannot be confused with the concept of
    13 “constructive knowledge,” i.e., what one “should have known,” as opposed to what

    14 one actually knew. “California law requires that a defendant have actual knowledge

    15 of tortious activity before it can be held liable as an aider and abettor, and federal

    16 courts have found that the phrase ‘knew or should have known’ does not plead

    17 actual knowledge.” (Neilson v. Union Bank of Cal., N.A., 290 F.Supp.2d 1101, 1118-

    18 19 (C.D. Cal.2003).)

    19        Here Guardian simply sold stock it owned by virtue of previous agreements.
    20 Secondly, Clymer was not manager of Guardian when those agreements were made,

    21 and thus his only involvement was selling GBT stock for the benefit of Guardian.

    22 (FAC, page 54, fn 62). There is nothing atypical about a party transferring its own

    23 stock that it owned for years. Plaintiffs did not, and cannot, state any allegations that

    24 these transactions aided and abetted anyone.

    25                   2. Conscious Decision and Intent to Participate in Wrongful Acts
    26        Aiding and abetting “necessarily requires a defendant to reach a conscious
    27 decision to participate in tortious activity for the purpose of assisting another in

    28 performing a wrongful act.” (Berg & Berg Enterprises, LLC v. Sherwood Partners,


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     1 Inc., 131 Cal.App.4th 802, 823 n.10 (2005); Siegal v. Gamble, 2015 WL 4734741, at

     2 *7 (N.D. Cal. Aug. 10, 2015).)

     3        In addition, Plaintiffs are required to show that Clymer had the intent to
     4 participate in and assist the wrongful acts. (Lomita Land & Water Co. v. Robinson

     5 154 Cal. 36, 47 (1908) [“The words ‘aid and abet’ as thus used have a well

     6 understood meaning, and may fairly be construed to imply an intentional

     7 participation with knowledge of the object to be attained.”]; Gerard v. Ross, 204

     8 Cal.App.3d 968, 983 (1988) [“In the civil arena, an aider and abettor is called a co-

     9 tortfeasor. To be held liable as a co-tortfeasor, a defendant must have knowledge and

    10 intent. ... A defendant can be held liable as a co-tortfeasor on the basis of acting in

    11 concert only if he or she knew that a tort had been, or was to be, committed, and

    12 acted with the intent of facilitating the commission of that tort.”]; Resolution Trust

    13 Corp. v. Rowe, No. C 90-20114 BAC, 1993 WL 183512, * 5 (N.D.Cal. Feb.8, 1993)

    14 [actual knowledge and intent are required to impose aiding and abetting liability].)

    15 Here, Plaintiffs again fail to allege Clymer’s intent and this claim must be dismissed.

    16               iii. Plaintiffs Fail to Allege How the Clymer Defendants Concealed or
    17                   Suppressed any Information to GBT.
    18        Plaintiffs attempt to plead a cause of action for concealment based upon the
    19 alleged “Individual Insider Defendants” by failing to disclose certain material facts

    20 which they allegedly had a duty to disclose. (FAC, ¶120). However, Perris, LLC

    21 and Guardian were simply shareholders, and do not have any right or duty to

    22 disclose any facts and Plaintiffs do not make such allegations. The only allegations

    23 added about Perris, LLC is that Jacob is allegedly the “control person” for Perris,

    24 LLC which is sufficient (Id).

    25        In addition, Plaintiffs allege in their “concealment” claim that the “officers,
    26 directors, executive consultants, affiliates and insiders, violated Rule § 144 without

    27 any facts to support such claim (and even describe how the Clymer Defendants fall

    28 into any of these categories) (FAC, ¶124). Defendants then make a conclusory


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     1 statement that “the Individual Insider Defendants” have personally benefitted from

     2 their collective and intentional non-disclosure of the Material Nonpublic

     3 Information”. (Id. Once again, the FAC is devoid of any allegations that a

     4 shareholder of GBT has a duty or ability to disclose any alleged Material Nonpublic

     5 Information, and what wrongdoings the Clymer Defendants allegedly committed.

     6         As discussed above, if fraud is being alleged against the Clymer Defendants,
     7 FRCP Rule 9(b) requires pleading with specificity the alleged facts that comprise of

     8 the fraudulent conduct, which are absent herein.

     9        The Third Claim for Relief based upon Fraud – Concealment and Suppression
    10 of Material Fact should be dismissed for failure to state a claim pursuant to FRCP

    11 Rules 12(b)(6) and 9(b).

    12               iv. Plaintiffs Fail to Allege Negligence Against the Clymer
    13                  Defendants.
    14        In Nevada, “[i]t is well established that to prevail on a negligence claim, a
    15 plaintiff must establish four elements: (1) the existence of a duty *1182 of care, (2)

    16 breach of that duty, (3) legal causation, and (4) damages.” Goggin v. Enter. Leasing

    17 Co. -W., LLC, 324 F. Supp. 3d 1179, 1181-82 (D. Nev. 2018).

    18        Once again, Plaintiffs just lump the Clymer Defendants with the other
    19 defendants in the case and now have included a claim for reverse alter ego that fails.

    20 At paragraph 130 of the FAC, Plaintiffs allege that the purported negligence as the

    21 alleged “Individual Insider Defendants” … “by their collective want of ordinary care

    22 or skill in the management and operation of nominal defendant GBT (Gopher’s)

    23 business operations, particularly in regard to the issuance, sale and transfer of GBT’s

    24 unregistered securities.”

    25        Simply stated Perris, LLC was a shareholder and had no management or
    26 operation of nominal defendant GBT, and no such claim is made. Furthermore,

    27 Clymer was, at best, merely a manager for Guardian after the stock agreements had

    28 been executed, and possesses no fiduciary duty to GBT by virtue of that. Plaintiffs


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     1 also fail to allege that Clymer had any fiduciary duty to GBT. As such, the

     2 negligence claim fails since the Clymer Defendants do not owe Plaintiffs or GBT

     3 any duties as set forth in the FAC and the claim is properly dismissed pursuant to

     4 12(b)(6).

     5   V.   Plaintiffs Cannot Allege “Reverse Alter Ego”
     6        The issue addressed by reverse piercing is the shareholder's transfer of
     7 personal assets to the corporation to shield the assets from collection by a creditor of

     8 the shareholder. In other words, outside reverse piercing seeks to protect the

     9 judgment creditor from the shareholder's fraudulent transfer of assets to the

    10 corporation.” See, Postal Instant Press, Inc. v. Kaswa Corp., 162 Cal. App. 4th

    11 1510, 1518 (2008).

    12        In order to try to create claims against the Clymer Defendants, Plaintiffs are
    13 seeking what amounts to a “reverse alter ego claim” against Clymer and Perris, LLC

    14 by alleging Perris, LLC is the “alter ego” of Jacob. There are no allegations of any

    15 transfer of assets from Jacob to Perris, LLC or Clymer for purposes of hiding them

    16 (because it simply did not happen). Rather, cases allowing reverse alter ego against

    17 an LLC involve cases where a judgment was already entered against the individual,

    18 which is also not the case herein.

    19             a. Alter Ego Is Inapplicable Against an LLC in Nevada
    20        Plaintiffs’ claim for alter ego fails to state a claim upon which relief may be
    21 granted because reverse alter ego cannot be applied against Perris, LLC as an LLC.

    22 The alter ego doctrine allows a judgment creditor to pierce the corporate veil and

    23 impose corporate liability upon a corporation's shareholders. See, e.g. In re

    24 Giampietro, 317 B.R. 841 (Bankr. D. Nev. 2004). Although piercing a corporation's

    25 veil was originally an equitable remedy, the Nevada legislature codified alter ego as

    26 an exception to the general rule that shareholders may not be liable for a corporate

    27 debt. See NRS 78.747(1).

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     1               i. Plaintiffs have Not Alleged Any Facts to Assert a Basis for Which
     2                   an Alter Ego Remedy Would Attach in Nevada
     3         In Nevada, there is no litmus test for determining when the corporate fiction
     4 should be disregarded; the result depends on the circumstances of each case. In

     5 pleading alter ego, a plaintiff “must set forth sufficient facts to establish all

     6 necessary elements of a claim for relief...so that the adverse party has adequate

     7 notice of the nature of the claim and relief sought.” See Hay v. Hay, 100 Nev. 196,

     8 198, 678 P.2d 672, 674 (1984) Not only is the FAC devoid of any facts, any alleged

     9 facts against the Clymer Defendants with regard to alter ego are made pursuant to

    10 information and belief. This fails to establish any factual basis for any alter ego.

    11 Other than conclusory statements in paragraph 24 and 29 which merely recite factors

    12 of an alter ego claim, there are no facts as to how the Clymer Defendants should be

    13 held responsible for Jacob’s purported liability. The FAC is devoid of any facts

    14 showing a unity of interest.

    15               Likewise, there are no facts as to how any inequitable result would
    16 occur by allowing alter ego. It is incumbent upon one seeking to pierce the

    17 corporate veil, to show that the financial setup of the corporation is a sham and

    18 caused injustice. See, North Arlington Medical Building, Inc. v. Sanchez

    19 Construction Company, 86 Nev. 515, 524 (1970). Plaintiffs have not alleged any

    20 fraud or injustice to the aggrieved party as to the Clymer Defendants. Mere

    21 conclusory allegations are insufficient to set forth the unique circumstances of this

    22 case for support of alter ego. The law requires more. Plaintiffs, therefore, has failed

    23 to state a claim for alter ego.

    24               However, this is not a case where Plaintiffs are attempting to pierce the
    25 alter ego of Jacob, but rather are attempting to make the Clymer Defendants

    26 responsible for the alleged liabilities of Jacob.

    27 ///

    28 ///


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     1               ii.    Reverse Alter Ego Fails in Nevada
     2         Nevada revised its limited liability company statute to make clear that a
     3 charging order was the exclusive remedy for creditors, and that no other equitable

     4 remedies were available. See NRS 86.401:

     5         Specifically NRS 86.401(2)(a) states:
     6         “(a) Provides the exclusive remedy by which a judgment creditor of a member
     7 or an assignee of a member may satisfy a judgment out of the member's interest of

     8 the judgment debtor, whether the limited-liability company has one member or more

     9 than one member. No other remedy, including, without limitation, foreclosure on the

    10 member's interest or a court order for directions, accounts and inquiries that the

    11 debtor or member might have made, is available to the judgment creditor attempting

    12 to satisfy the judgment out of the judgment debtor's interest in the limited-liability

    13 company, and no other remedy may be ordered by a court.”

    14         In addition, no other remedies are available to the creditors of an LLC. Id.
    15 This includes equitable remedies, such as the “alter ego” doctrine. Id. Because the

    16 charging order is the exclusive remedy to an LLC’s creditor, the alter ego doctrine

    17 does not apply in the case sub judice. Further, the Clymer Defendants respectfully

    18 submit that, based upon the statute, the Clymer Defendants cannot be pierced to

    19 create reverse alter ego liability.

    20            b. Reverse Alter Ego Also Fails in California
    21         In California, the Courts have also held that “[a]lter ego is an extreme remedy,
    22 sparingly used. Sonora Diamond Corporation. Superior Court 83 Cal. App. 4th

    23 523, 539 (2000). As discussed above, there are no facts to establish any alter ego

    24 claims and Plaintiffs are not seeking to pierce a corporate veil, but rather a reverse

    25 piercing of the corporate veil.

    26         In California, Courts have permitted reverse veil piercing against an LLC
    27 when a judgment debtor uses his LLC to hide assets from a judgment creditor.

    28 Curci Investments LLC v. Baldwin, 14 Cal.App.5th 214, 224 (2017). As stated in


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     1 Curci, “[t]he case before us presents a situation where reverse veil piercing might

     2 well be appropriate. Curci has been attempting to collect on a judgment for nearly

     3 half a decade”. The defendant used his LLC that he had an interest in to hide

     4 personal assets and his web of business entities in which he has an interest. Under

     5 those circumstances – post judgment – the Court allowed reverse veil piercing. On

     6 the other hand, the Clymer Defendants have been unable to find cases where a

     7 reverse veil piercing was allowed prior to judgment.

     8        As such, under both Nevada and California law, reverse alter ego fails.
     9 VI.    CONCLUSION
    10        Based upon the above, Plaintiffs’ FAC should be dismissed in its entirety for
    11 failure to meet the requirements of FRCP Rule 23.1 and for failure to state viable

    12 claims against the Clymer Defendants pursuant to FRCP Rules 12(b)(6) and 9(b).

    13

    14 Dated: November 25, 2020                             FARIVAR LAW FIRM, APC
    15

    16                                                By:
    17
                                                            Fahim Farivar, Esq.
                                                            Attorney for Randolph Ben Clymer
    18                                                      and Ben Clymer’s the Body Shop
    19                                                      Perris, LLC

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     1                       PROOF OF SERVICE OF DOCUMENT
     2
         I am over the age of 18 and not a party to this case. My business address is: 18345
     3 Ventura Boulevard, Suite 518, Tarzana, CA 91356.

     4
         A true and correct copy of the foregoing document entitled (specify):
     5

     6 DEFENDANTS RANDOLPH BEN CLYMER AND BEN CLYMER’S THE
       BODY SHOP PERRIS, LLC’S NOTICE OF MOTION AND MOTION TO
     7  DISMISS FIRST AMENDED COMPLAINT UNDER FEDERAL RULES
     8            OF CIVIL PROCEDURE 12(B)(6), 9, AND 23.1

     9 will be served or was served (a) on the judge in chambers in the form and manner

    10 required by LBR 5005-2(d); and (b) in the manner stated below:

    11 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC

    12 FILING (NEF): Pursuant to controlling General Orders and LBR, the foregoing
         document will be served by the court via NEF and hyperlink to the document. On
    13 (date) November 25, 2020, I checked the CM/ECF docket for this and determined

    14 that the following persons are on the Electronic Mail Notice List to receive NEF
         transmission at the email addresses stated below:
    15

    16      Fahim Farivar, Esq. – fahim@farivarlaw.com
            Robert Yaspan, Esq. – ryaspan@yaspanlaw.com
    17      Joe McCarty, Esq. – jmccarty@yaspanlaw.com
    18      Debbie Brand, Esq. – dbrand@yaspanlaw.com
            Wolfgang F. Hahn, Esq. – ellobo1@san.rr.com
    19

    20                                       Service information continued on attached page
    21 2. SERVED BY UNITED STATES MAIL:

    22 On (date) ___________, I served the following persons and/or entities at the last
         known addresses in this case by placing a true and correct copy thereof in a sealed
    23 envelope in the United States mail, first class, postage prepaid, and addressed as

    24 follows. Listing the judge here constitutes a declaration that mailing to the judge
         will be completed no later than 24 hours after the document is filed.
    25

    26                                       Service information continued on attached page
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                   NOTICE OF MOTION AND MOTION TO DISMISS FIRST AMENDED COMPLAINT
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     1 3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL,

     2
         FACSIMILE TRANSMISSION OR EMAIL (state method for each person or
         entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
     3   ___________, I served the following persons and/or entities by personal delivery,
     4   overnight mail service, or (for those who consented in writing to such service
         method), by facsimile transmission and/or email as follows. Listing the judge here
     5   constitutes a declaration that personal delivery on, or overnight mail to, the judge
     6   will be completed no later than 24 hours after the document is filed.

     7                                        Service information continued on attached page
     8
         I declare under penalty of perjury under the laws of the United States that the
     9 foregoing is true and correct.

    10
         November 25, 2020       Brian Ning                     /s/ Brian Ning
    11   Date                    Printed Name                   Signature
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                   NOTICE OF MOTION AND MOTION TO DISMISS FIRST AMENDED COMPLAINT
